Case 1:18-ap-01127-MT         Doc 36 Filed 05/24/19 Entered 05/24/19 16:41:26            Desc
                               Main Document    Page 1 of 3



 1 Reed S. Waddell (State Bar No. 106644)
   rwaddell@frandzel.com
 2 Gerrick M. Warrington (State Bar No. 294890)
   gwarrington@frandzel.com                                    FILED & ENTERED
 3 FRANDZEL ROBINS BLOOM & CSATO, L.C.
   1000 Wilshire Boulevard, Nineteenth Floor
 4 Los Angeles, California 90017-2427                                MAY 24 2019
   Telephone: (323) 852-1000
 5 Facsimile: (323) 651-2577                                    CLERK U.S. BANKRUPTCY COURT
                                                                Central District of California
                                                                BY Fisher     DEPUTY CLERK
 6 Attorneys for FIRST-CITIZENS BANK &
   TRUST COMPANY
 7

 8                             UNITED STATES BANKRUPTCY COURT

 9                              CENTRAL DISTRICT OF CALIFORNIA

10                               SAN FERNANDO VALLEY DIVISION

11

12 In re                                           Case No. 1:17-bk-10017-MT

13 AKHOIAN ENTERPRISES, INC.,                      Chapter 7

14               Debtor.                           Adv No. 1:18-ap-01127-MT

15                                                 ORDER DISMISSING ADVERSARY
   AKHOIAN ENTERPRISES, INC., JOHN                 PROCEEDING WITH PREJUDICE
16 AKHOIAN, and TAMAR AKHOIAN,
                                                   Status Conference:
17               Plaintiff,                        Date:    May 15, 2019
                                                   Time:    10:00 a.m.
18         v.                                      Crtrm.: Courtroom 302
                                                            United States Bankruptcy Court
19 FIRST CITIZENS BANK & TRUST                              21041 Burbank Blvd.
   COMPANY, a North Carolina corporation;                   Woodland Hills, CA 91367
20 KI, LLC, a California limited liability
   company; KRAVITZ, LLC, a Delaware               The Hon. Maureen A. Tighe
21 limited liability company; LOUIS KRAVITZ
   & ASSOCIATES, INC., a California
22 corporation; KRAVITZ, INC., a California
   corporation; ASCENSUS, INC., a Delaware
23 corporation; and DOES 1 through 20,
   inclusive,
24
                    Defendants.
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                   ORDER DISMISSING ADVERSARY PROCEEDING WITH PREJUDICE
                                                                                  Case 1:18-ap-01127-MT        Doc 36 Filed 05/24/19 Entered 05/24/19 16:41:26                Desc
                                                                                                                Main Document    Page 2 of 3



                                                                                   1
                                                                                              This matter came before the Court on May 15, 2019, at a status conference scheduled in
                                                                                   2
                                                                                       the above captioned adversary proceeding. Farnell & Norman, PC, appeared on behalf of
                                                                                   3
                                                                                       Plaintiffs John and Tamar Akhoian (together, "Akhoians"). Reed S. Waddell of Frandzel Robins
                                                                                   4
                                                                                       Bloom & Csato, L.C. appeared on behalf of Defendant First-Citizens Bank & Trust Company
                                                                                   5
                                                                                       ("FCB"), and Richard Brustein of Brutzkus Gubner Rozansky Seror Weber LLP appeared on
                                                                                   6
                                                                                       behalf of David Seror, Chapter 7 Trustee ("Trustee") of the estate of putatively-named Plaintiff
                                                                                   7
                                                                                       Akhoian Enterprises, Inc. ("AEI," and together with the Akhoians, "Plaintiffs"). Other
                                                                                   8
                                                                                       appearances, if any, were as noted on the record.
                                                                                   9
                                                                                              The Court has reviewed and considered the Chapter 7 Trustee's Notice of Dismissal of
FRANDZEL ROBINS BLOOM & CSATO, L.C.




                                                                                  10
                                                                                       Adversary Proceeding in its Entirety, With Prejudice [Dkt. 29] ("Notice of Dismissal"), the Notice
                                      1000 WILSHIRE BOULEVARD, NINETEENTH FLOOR




                                                                                  11
                                         LOS ANGELES, CALIFORNIA 90017-2427




                                                                                       of Lodgment of Order or Judgment in Adversary Proceeding re: Dismissal of Adversary
                                                                                  12
                                                                                       Proceeding in its Entirety, With Prejudice [Dkt. 30] ("NOL"), filed by and the Trustee, and the
                                                                                  13
                                                   (323) 852-1000




                                                                                       Objection to Form of the Order per LBR 9021-1(b)(3)(B) [Dkt. pending] ("Objection"), filed by
                                                                                  14
                                                                                       FCB.
                                                                                  15
                                                                                              Based upon the entire record, including the Notice of Dismissal, NOL, Objection, and oral
                                                                                  16
                                                                                       argument at the May 15, 2019, status conference, and for the reasons set forth on the record,
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                                                                                              IT IS ORDERED AS FOLLOWS:
                                                                                  18
                                                                                              1.      This adversary proceeding, and each and every one of the Plaintiffs' claims set forth
                                                                                  19
                                                                                       in the adversary complaint, as appended to Dkt. 5, Exh. 2 ("Adversary Complaint"), are
                                                                                  20
                                                                                       DISMISSED WITH PREJUDICE ("Dismissal").
                                                                                  21
                                                                                              2.      This Dismissal is on the merits.
                                                                                  22
                                                                                              3.      The Court sets a hearing for June 26, 2019 at 10:00 a.m. in Courtroom 302, of the
                                                                                  23
                                                                                       United States Bankruptcy Court for the Central District of California, San Fernando Valley
                                                                                  24
                                                                                       Division, 21041 Burbank Boulevard, Woodland Hills, CA 91367, as a holding date.
                                                                                  25
                                                                                              4.      Any party in interest seeking, for any reason whatsoever, to raise any objections or
                                                                                  26
                                                                                       otherwise address this dismissal, must be raised, if at all, on or before June 12, 2019. No
                                                                                  27
                                                                                       objections to the dismissal may be made after that deadline. The failure to object by that deadline
                                                                                  28


                                                                                                        ORDER DISMISSING ADVERSARY PROCEEDING WITH PREJUDICE
                                                                                  Case 1:18-ap-01127-MT        Doc 36 Filed 05/24/19 Entered 05/24/19 16:41:26               Desc
                                                                                                                Main Document    Page 3 of 3



                                                                                   1 will be deemed consent to entry of dismissal with prejudice and on the merits. If any party in

                                                                                   2 interest does object, any party in interest may file a reply on or before June 19, 2019, and the

                                                                                   3 hearing on June 26, 2019, at 10:00 a.m. will go forward. However, if no party in interest objects,

                                                                                   4 the dismissal will be final and the hearing will be taken off calendar.

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FRANDZEL ROBINS BLOOM & CSATO, L.C.




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                                      1000 WILSHIRE BOULEVARD, NINETEENTH FLOOR




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                                         LOS ANGELES, CALIFORNIA 90017-2427




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                                                   (323) 852-1000




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                                                                                       Date: May 24, 2019
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                                                                                                        ORDER DISMISSING ADVERSARY PROCEEDING WITH PREJUDICE
